
PER CURIAM.
Dismissed. See Grasso v. Grasso, 113 So. 3d 855, 856 (Fla. 2d DCA 2012) ("To the extent that the order on appeal addresses the issue of subject matter jurisdiction, it is not an appealable, nonfinal order."); Brulte v. Brulte, 967 So. 2d 1087, 1088 (Fla. 1st DCA 2007) ("[c]oncluding that the order on appeal does not fall into any of the categories of appealable orders identified in Florida Rule of Appellate Procedure 9.130" where the nonfinal order "dealt with subject matter jurisdiction" under the Uniform Child Custody Jurisdiction and Enforcement Act).
LaROSE, C.J., and SILBERMAN and ATKINSON, JJ., Concur.
